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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



 FEDERAL TRADE COMMISSION,

        Plaintiff,                                        Case No. 1:20-cv-3590-JEB

 v.                                                       HON. JAMES E. BOASBERG

 META PLATFORMS, INC.,

        Defendant.


                                      PROPOSED ORDER

       Upon consideration of the Motion of The New York Times Company (“The Times”) to

Intervene and for Access to Judicial Records and Proceedings (the “Motion”), it is hereby:

       ORDERED that the Motion is GRANTED; and

       ORDERED that any sealing of trial exhibits or testimony must substantively comport

with the common law and First Amendment rights of public access; and

       ORDERED that ideally as soon as possible, and certainly by the evening of each trial

day, each party shall make the exhibits admitted into evidence that day available for download

from a public website, with each party responsible for uploading its own exhibits to the website;

and

       ORDERED that in the rare case where a party is unable to comply with this deadline, it

shall so notify the Court at the beginning of the following trial day, provide an explanation for its

noncompliance, and state when the exhibit(s) will be released; and
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       ORDERED that The Times reserves its right to object to the sealing of exhibits while the

trial is ongoing, and the Court shall endeavor to resolve any such objections as soon as

practicable; and

       ORDERED that if the parties anticipate seeking closure of the courtroom during any

testimony, they must make that request by the end of the prior trial day, so that the press and

public have notice and an opportunity to object to closure at the start of the next trial day; and

       ORDERED that in the event of any closure, (i) the parties (and where relevant, third

parties), within 24 hours of the end of the closed session, shall review the transcript of the closed

session and propose redactions to the Court, and (ii) the Court shall then independently review

the proposed redactions and determine whether they comport with the common law and First

Amendment, ordering release of any portions that do not.




       Date: ______________________                           _____________________________

                                                              Hon. James E. Boasberg
                                                              United States District Judge
